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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA


                                                     )
 UNITED FOR FBI INTEGRITY,                           )
 943 19th St. Apt 3                                  )
 Santa Monica, CA 90403                              )
                                                     )
                  Plaintiff,                         )
                                                     )
     v.                                              )           Civil Action No.
                                                     )
 U.S. DEPARTMENT OF JUSTICE,                         )
 950 Pennsylvania Avenue, NW                         )
 Washington, DC 20530-0001                           )
                                                     )
                  Defendant.                         )
                                                     )
                                                     )

                                              COMPLAINT

          Plaintiff United for FBI Integrity (“Plaintiff”) brings this action against Defendant U.S.

Department of Justice to compel compliance with the Freedom of Information Act, 5 U.S.C. § 552

(“FOIA”). As grounds therefor, Plaintiff alleges as follows:

                                    JURISDICTION AND VENUE

          1.       Jurisdiction is conferred on this Court by 28 U.S.C. § 1331, as this action arises under

5 U.S.C. § 552(a)(4)(B).

          2.      Venue is proper in the District of Columbia pursuant to 28 U.S.C. § 1391(e) and

5 U.S.C. § 552(a)(4)(B).

                                               PLAINTIFF

          3.       Plaintiff is a non-profit social welfare organization incorporated in the District of

Columbia with a principal place of business in Los Angeles County, California. Plaintiff was

originally incorporated under the name “Protect the FBI,” and it made its FOIA requests under that

                                                     1
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name. On September 19, 2022, Plaintiff filed an amendment with the District of Columbia

Department of Consumer & Regulatory Affairs, changing its name to United for FBI Integrity

                                           DEFENDANT

       4.       Defendant U.S. Department of Justice (“DOJ”) is a federal agency headquartered in

Washington, DC. DOJ is a federal agency within the meaning of 5 U.S.C. § 552(f)(1), located at 950

Pennsylvania Avenue NW, Washington, DC, 20530. The Justice Management Division (“JMD”)

and Federal Bureau of Investigation (“FBI”) are components of DOJ. Thus, upon information and

belief, DOJ, through its components, has possession, custody, and control of the records, within the

meaning of 5 U.S.C. § 552(f)(2), to which the Plaintiff seeks access.

                                               FACTS

   A. SECURITY CLEARANCE REQUIREMENTS AND PROCEDURES

       5.       Under Executive Order No. 13,526 § 1.1(a)(4), 75 Fed. Reg. 707 (Jan. 5, 2010),

information may only be classified if, among other requirements, “the original classification

authority determines that the unauthorized disclosure of the information reasonably could be

expected to result in damage to the national security, which includes defense against transnational

terrorism, and the original classification authority is able to identify or describe the damage.”

       6.       Executive Order No. 12,968, 60 Fed. Reg. 40245 (Aug. 2, 1995) “establishes a

uniform Federal personnel security program for employees who will be considered for initial or

continued access to classified information.”

       7.       Under Executive Order No. 12,968 § 1.2(c), “Employees shall not be granted access

to classified information unless they: (1) have been determined to be eligible for access under section

3.1 of this order by agency heads or designated officials based upon a favorable adjudication of an

appropriate investigation of the employee’s background; (2) have a demonstrated need-to-know; and

(3) have signed an approved nondisclosure agreement.” 60 Fed. Reg. 40246.
                                                   2
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       8.      Executive Order No. 12,968 § 3.1(f) mandates that an Executive Branch entity

“develop a common set of adjudicative guidelines for determining eligibility for access to classified

information….” Id. at 40250. The most recent National Security Adjudicative Guidelines are in

Security Executive Agent 4 signed by then Director of National Intelligence James Clapper on

December 10, 2016, effective June 8, 2017.

       9.      Eligibility for access to classified information is commonly referred to as a “security

clearance” or “clearance.”

       10.     Executive Order No. 12,968 § 5.2 mandates specific protections for any applicant or

employee who is determined to not meet the standards for eligibility for access to classified

information—whose clearance has been denied or revoked—as follows:

               Sec. 5.2. Review Proceedings for Denials or Revocations of Eligibility for
               Access.

       (a) Applicants and employees who are determined to not meet the standards for access
       to classified information established in section 3.1 of this order shall be:

               (1) provided as comprehensive and detailed a written explanation of the basis
       for that conclusion as the national security interests of the United States and other
       applicable law permit;

               (2) provided within 30 days, upon request and to the extent the documents
       would be provided if requested under the Freedom of Information Act (5 U.S.C. 552)
       or the Privacy Act (3 [sic] U.S.C. 552a), as applicable, any documents, records, and
       reports upon which a denial or revocation is based;

                (3) informed of their right to be represented by counsel or other representative
       at their own expense; to request any documents, records, and reports as described in
       section 5.2(a)(2) upon which a denial or revocation is based; and to request the entire
       investigative file, as permitted by the national security and other applicable law,
       which, if requested, shall be promptly provided prior to the time set for a written reply;

              (4) provided a reasonable opportunity to reply in writing to, and to request a
       review of, the determination;

               (5) provided written notice of and reasons for the results of the review, the
       identity of the deciding authority, and written notice of the right to appeal;


                                                   3
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                (6) provided an opportunity to appeal in writing to a high level panel,
        appointed by the agency head, which shall be comprised of at least three members,
        two of whom shall be selected from outside the security field. Decisions of the panel
        shall be in writing, and final except as provided in subsection (b) of this section; and

                (7) provided an opportunity to appear personally and to present relevant
        documents, materials, and information at some point in the process before an
        adjudicative or other authority, other than the investigating entity, as determined by
        the agency head. A written summary or recording of such appearance shall be made
        part of the applicant’s or employee’s security record, unless such appearance occurs
        in the presence of the appeals panel described in subsection (a)(6) of this section.

        Id. at 40252.

        11.      Some DOJ employees need access to classified information in the performance of

their duties.

        12.      DOJ has promulgated regulations regarding the security clearances of its personnel.

Under 28 C.F.R. § 17.2(a), “All employees, contractors, grantees, and others granted access to

classified information by [DOJ] are governed by this part, and by the standards in Executive Order

12958, Executive Order 12968, and directives promulgated under those Executive Orders. If any

portion of this part conflicts with any portion of Executive Order 12958, Executive Order 12968, or

any successor Executive Order, the Executive Order shall apply….”

        13.     DOJ established an “Access Review Committee” (“ARC”) “to review all appeals

from denials or revocations of eligibility for access to classified information under Executive Order

12968. Unless the Attorney General requests recommendations from the ARC and personally

exercises appeal authority, the ARC’s decisions shall be final.” 28 C.F.R. § 17.15(a).

        14.     Under 28 C.F.R. § 17.47(a)-(g), the following procedures are supposed to be provided

to DOJ personnel whose clearances have been denied or revoked:

        (a) Applicants and employees who are determined to not meet the standards for
        access to classified information established in section 3.1 of Executive order 12968
        shall be:

                (1)     Provided with a comprehensive and detailed written explanation of
                                                   4
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the basis for that decision as the national security interests of the United States and
other applicable law permit and informed of their right to be represented by counsel
or other representative at their own expense;

        (2)    Permitted 30 days from the date of the written explanation to request
any documents, records, or reports including the entire investigative file upon which
a denial or revocation is based; and

        (3)    Provided copies of documents requested pursuant to this paragraph
(a) within 30 days of the request to the extent such documents would be provided if
requested under the Freedom of Information Act (5 U.S.C. 552) or the Privacy Act
of 1974 (5 U.S.C. 552a), and as the national security interests and other applicable
law permit.

(b) An applicant or employee may file a written reply and request for review of the
determination within 30 days after written notification of the determination or receipt
of the copies of the documents requested pursuant to this subpart, whichever is later.

(c) An applicant or employee shall be provided with a written notice of and reasons
for the results of the review, the identity of the deciding authority, and written notice
of the right to appeal.

(d) Within 30 days of receipt of a determination under paragraph (c) of this section,
the applicant or employee may appeal that determination in writing to the ARC,
established under § 17.15. The applicant or employee may request an opportunity to
appear personally before the ARC and to present relevant documents, materials, and
information.

(e) An applicant or employee may be represented in any such appeal by an attorney
or other representative of his or her choice, at his or her expense. Nothing in this
section shall be construed as requiring [DOJ] to grant such attorney or other
representative eligibility for access to classified information, or to disclose to such
attorney or representative, or permit the applicant or employee to disclose to such
attorney or representative, classified information.

(f) A determination of eligibility for access to classified information by the ARC is a
discretionary security decision. Decisions of the ARC shall be in writing and shall be
made as expeditiously as possible. Access shall be granted only where facts and
circumstances indicate that access to classified information is clearly consistent with
the national security interest of the United States, and any doubt shall be resolved in
favor of the national security.

(g) The Department Security Officer shall have an opportunity to present relevant
information in writing or, if the applicant or employee appears personally, in person.
Any such written submissions shall be made part of the applicant’s or employee’s
security record and, as the national security interests of the United States and other
applicable law permit, shall also be provided to the applicant or employee. Any
                                           5
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       personal presentations shall be, to the extent consistent with the national security and
       other applicable law, in the presence of the applicant or employee.

   B. PLAINTIFF’S FOIA REQUEST TO DOJ ABOUT ARC DECISIONS.

       15.      On November 3, 2020, the Plaintiff, under its previous name “Protect the FBI,”

submitted a FOIA request to DOJ for the following records:

       1. Request information (if possible, a list) on all appeals of security clearance
       revocations to the Department of Justice (DOJ) Access Review Committee (ARC) for
       the period from January 1, 2015 through December 31, 2019, including the date of
       the appeal (the date it was received by ARC), the DOJ component that had revoked
       the employee’s clearance, the ARC’s decision (whether the revocation was affirmed
       or reversed), and the date of the ARC’s decision. 2. Copies of all written decisions by
       the ARC on appeals of security clearance revocations for the period from January 1,
       2019 through November 3, 2020.

       16.      On December 10, 2021, DOJ JMD denied the Plaintiff’s request as follows:

       Regarding your first request, JMD does not maintain any list or other document
       containing the information you are requesting. Regarding your second request, JMD
       located eight ARC decisions in the date range specified, totaling 35 pages. All these
       decisions concerned employees of the Federal Bureau of Investigation (FBI). We
       consulted with the FBI, which requested that we withhold these documents in their
       entirety on the FBI’s behalf under FOIA Exemptions (b)(6) and (b)(7)(C).

       17.      On January 27, 2022, the Plaintiff filed an administrative appeal of JMD’s decision

with DOJ.

       18.      On May 20, 2022, DOJ remanded the Plaintiff’s request to JMD for further

processing of the responsive records.

       19.      On November 1, 2022, JMD provided responsive records but redacted information

from them. See Exh. A. JMD notified the Plaintiff that

       [a]fter further review and consultation with the FBI, we have determined that the 35
       pages can be released to you with redactions under Exemption 6 for certain personally
       identifiable information. We have determined that the privacy interests outweigh the
       public interest in disclosure of such information. Please note that some of the
       redactions were made by the FBI under Exemptions 5, 6, 7(C), and 7(E).

       20.      The Plaintiff reviewed the provided records and concluded that JMD had redacted


                                                  6
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  information that was not personally identifiable information, including the basis for revoking

  employees’ clearances and dates of actions. On November 13, 2022, the Plaintiff filed an

  administrative appeal of JMD’s redactions from the responsive records. The Plaintiff did not appeal

  JMD’s redaction of employees’ names from the records.

            21.     On September 1, 2023, DOJ affirmed JMD’s redactions under Exemptions 6, 7(C),

  and 7(E), 5 U.S.C. §§ 552(b)(6), (7)(C), (7)(E). DOJ did not reach the merits of the redactions under

  Exemption 5.

                                              COUNT ONE

                                    Violation of FOIA, 5 U.S.C. § 552

      22.           The foregoing allegations are re-alleged and incorporated herein by reference.

      23.           Considering:

                    a) the Plaintiff does not challenge the redaction of employees’ names, identifying

      numbers, dates of birth, or office/division of assignment from the responsive records,

                    b) there is a substantial public interest in knowing how DOJ determines whether

      employees’ security clearances should be revoked,

                    c) the redacted information does not include information that would disclose

      techniques and procedures, or guidelines for law enforcement investigations or prosecutions, the

      disclosure of which could reasonably be expected to risk circumvention of the law,

      DOJ is improperly withholding information in records responsive to the Plaintiff’s FOIA request

      under 5 U.S.C. §§ 552(b)(6), (7)(C), and (7)(E).

                                                 RELIEF

            WHEREFORE, Plaintiff respectfully requests relief as follows:

      24.           An injunction requiring DOJ to produce, by a date certain, all records responsive to

Plaintiff’s FOIA request with only employees’ names, identifying numbers, dates of birth, and
                                                     7
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office/division of assignment redacted from the responsive records.

      25.         Costs and reasonable attorneys’ fees.

      26.         Such other relief as this Court deems just and equitable.

                                                Respectfully Submitted,

    November 15, 2023.                          /s/ Michael S. Zummer
                                                Michael S. Zummer (La. Bar No. 31375)
                                                2337 Magazine St. Unit D
                                                New Orleans, LA 70130
                                                Telephone: (504) 717-5913
                                                E-mail: afbilitigation@gmail.com
                                                Counsel for Plaintiff




                                                   8
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              Exhibit A
            Case 1:23-cv-03435-RDM Document 1 Filed 11/15/23 Page 10 of 44

                                                                           U.S.-Department of Justke




           JUN 182019




 MEMORl-\1\iTIUM FOR GERALD ROBERTS, JR.
                   Assistant Director, Security Division
                                         Federal Bureau    O~!l~;8t;,fion/"
 FROM:                                   Monty VlilkinsQl1 Mi' l'»;" ''''''__'''''-
                                         Chairman. A,ceess RevIew Committee

 SUBJECT:                                Access Reyiew' C~tnmittee Appeal            otl                                                  b6    per FBI
                                     1                       J                          ~------~                                          b7C    per FBI

                                         Federal Bureau of Investigation

         The Access Review Committee /\R(_) .met Q.T1 Apri124~ 2019, to consider
  ----'c'ppeal ofth
.-,                                            .ecision of 'the Federal RUreatl of Illvestlgatkm
 (FBI) to revoke his security clearance. For the reasons set forth below, the, ARC afiinns the
 FEU's decision.




                                                                                    Based on these
~--~~~~~~~~I""T--~--------~~~'-------~~~--~
events, t .e . (.:etenrune. at t e concerns ralsed _.                  conduct amQUlltedto a
signtt:icant and unacceptable risk to the national security, supporting the .re:vocalion of his
clearance. Onl      I              .1 the FBI affirmed this decision on reconsideration, anO
1              lappealed the reconsideration decision to the ARC inl                                              I

        A. review identified thai the following Adjudicative Gu.idelines set forth by the Securiiy
 Policy Board are applicable to' this appeal:



                                                                                                                                          b6 per FBI
                                                                                                                                          b7C per FBI
..,....__ ..,..,...
                __ ..,.....   ..,.....                                             ___,tlle.decidihg official sustained the allegations   b5 per FBI
 but -mitigated the penalty to a 6O-day suspension            and the imposition    of a last-chance settlement       agreement.          b7E per FBI




                                                                                                                           Exhibit A
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  M(~morandum for Gerald Roberts, Jr.
  Subject: Access Review COmniittee Appeal 011•..                             ...•                                    b6 per FBI
                                                                                                                      b7C per FBI
 GUideline I'.~Personal Conduct. Thc concern is that COllduct invulving questionable judgment,
 lack of candor, dishonesty, or wlwillingness to comply with rules and. regulations can raise
 questions about an individuaf 5 reliabmty~trustworthiness and ability to prQtect classified
 information. A relevant cotlsMeratkm undet this guideline is whether an individual deliberately
 provided false or misleading information concerning relevant and materifli matters M an
 invt'Stigator. security oftidal, competent 111.edicaI authority; or other representative in conneetion
 with a personnel security or trustw()l·thin.ess determination.

 Guideline H. Drug Involvement The concern is that the illegal use of controlled substances, to
 inc.lude the misuse of prescription and non-prescriptioil drugs, and the use of other substances
 that cause physicaJ or mental impairment or are. used in a manner inconsistent with their intended
 purpose, can raise questions about an individual's reliability and trustworthiness, both because
 such behavior may lead to physical or psychological impairment and becau.5ft it raises questions
 about a :person>s ability or willingness to cOlllply with laws, rules; and regtilat:ions. Drugs are
 dellned as ID.{)odand behavior altering substances, and htdude: .(1) Drugs" materials, and other
 chemical corrlpollnds identifie.d and. listed in the Controlled Substances Act of 1970, as amended
 (e.g.~ marijuana or cannabis, depressants, narcotics, stimulants. and hallucinogens); and
 (Ji) Inhalants and other similar substances.



                                                                                                                      b6 per FBI
                                                                                                                      b7C per FBI
                                                                                                                      b5 per FBI
                                                                                                                      b7E per FBI




                                                                'ouId bar hjm from FBI employment.
                .. ievc that it would. have been Ui\just to disqualify him n'om a career based on a
  lapse in judgment, and that belief supported his decision to be dishonest with the FBI abollt his                   b6 per FBI
                                                                                                                      b7C per FBI
I                Ibeforeand during his FBI etnployment.                                                               bS per FBI
                                                                                                                      b7E per FBI
         The FBI found tha~                                           land eftorts to conceal it raised significant
 security concerns. Under FB~I=""l-)O~!:-:-ic-y-·.f""I----"'F-ro...l· uld nbthave been eligible for FBI




                                                                                                        Exhibit A
                Case 1:23-cv-03435-RDM Document 1 Filed 11/15/23 Page 12 of 44

     Memorandum for Gerald Roberts, Jr.                                     •...      _
     Subject: Access Review Committee Appeal o~                                                                             b6 per FBI
                                                                                                                            b7C per FBI
                                                                                                                            bS per FBI
 r~=~~~=-~L----.------.,..                                                                                  _...J   his     b7E per FBI
                                      on several occasions over an extended period raised duubts about his
 ------~~--~------~
     trustw'orthiness that could not be mitigated. For the·se rea~ons.the FBIcollcluded that entrusting
 I                l\\>lth classified inionnation would pose an unacceptable risk to national security, and
     it revoked his clearance em those grounds..



           The ARC js charged under the Adjudi(,.-_...ltive Gu.idelines with examining a sufficient
  period of a perSt)n' s life to make an afiin:native detennination whether the person is eligible for a
  security clea.runce. Itt this process~ the ARC must ,;.areJiJllyweigh a number of variables kno\vn
  as the "whole person concept.~t In evaluating th~ relevance ofa.~ individual's conduct~ the
  foJIo\\-ing facto_rsshould be considered: (1) the nature, extent, 3n.d seriousness of the conduct; (2)
  the circumstances s:urrounding the conduct, to include knowledgeable pa:.t:ticipation; (3) the
  frequency and recency of the cQnduct; (4) the individual's age and maturity at the time of the
  conQuct; (5) the extent to which participation is voluntary~ (6) the presence or absence of
  rehabilitation iL'1dother pertinent behavioral changes; (7) the motivation lor th.econduct; (8) the
  potential for pressure-; coercion, exploitation, or -duress; and (9) the likelihood of contimlation or
  recurrence. Th.e govcOling executive order ftuther clarities that "'eligibility for access to
  classified lrif(.)tmmion shall be granted. (lnly to employees, .. whose personal and professional
  history affirmative1y indicates loyalty to the United States, strength of character, trustworthiness.,
  honesty, reliability, discrction~ and sound.judgment, as weB as freedom. from conflicting
  allegiances and potential for cOCrciOl1i and willingness and ability to.abide by reglllations
  governing the use, handling~ and pmtection of classified infonnation." Executive Order No.
  12968, § 3.l(b) (1995).

          The Adjudicative Guidelines pr<:.widethat every case must be judg~d on its OWh merits,
  but that "any doubt concexlling personnel being considered tor access to. classified information
  will be resolved in favor of national security." Further, '"the ultimate detclmination of whether
  the granting or c<mti.nuingof eligibility tbr a security clearance is clearly c.onsistent with the
  interests of national security mu&1 be an overall common sense judgment based upon careful
  consideration ofthe [individual guidelines] ... in the context ofthe \\ibole perron." The
  in.dividual seeking the security clearance bears the burden of proving that such clearance is fully
  consistent with the interests of national security.



        .-----'........,=-O...,_              .........1 reconsideration   request.   .....•.•••.•••.
                                                                                                   •..•                    b6 per FBI
                                                                                                                           b7C per FBI
                                   was not a disqualiCYing security consideration.                                         bS per FBI
~==':':""'';'::;::;''---------------.--__,. ..•....
                                               ----------                                       ....J Md the imposition of a b7E per FBI
L....       --------_--------lt'. rovided even more assurance that he would not .repeat such
              -----...1 also stat.edthat be had not been sure at the time of the incident
           •...•.
  sure unti Ie present~ whcthe.,_
                                                                                           and was not
                                                                                      ~--------    ..•••
  ~tg~ed that this_uncertainty miti~ated t. he sig~itkance o~'his failure t.odi~dose the
  InCIdent to the FBll             Ja1so em.phaslZl.;."'<i that hIS work record wlth the FBL..I-w-as-' --...I
  exemplary and otherwise unblemished, and he pointed out that his snpervisors and colleagues


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                                                                                                             Exhibit A
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 Memorandum for Gerald Roberts, Jr.                                   _
 Subject: Access Review Committee Appeal         otf
                                                -~=:--- .
                                                                                                            b6 per FBI
                                                                                                            b7C per FBI

 held ~im in high r~gard,. For these rea..'¥)DsJ            .lreaueS!e!! tbp reinstatement (}f hi..R
 secunty clearau(;'e. In hlSI                  IARC appeal,                testated these arguments
 supporting the restoration of his security cleat'Jnce.

                                  Hearing Proceedings and Discussion
                                                                                                            b6 per FBI
                                                                                                            b7C per FBI
                                                                                        bdmitted that       bS per FBI
                                                                                                   but he   b7E per FBI




 ~~~~--~--~---~
      urgued
 f()f his a,ctions and
                                         , At t ..e same tune
                                                               ~----~
                             that his FBI record showed him to c an exemplary employee who had
 made significant contributions to the FBI. Based on that record and an assessment of him as a
 whole personJ              lasked the ARC u) provide him (1 second chance to serve either the FBI
 or an th    ederal agency by reinstating his security clearance. The FBI conceded that
              eventual admission of his misconduct was a mitigating factor, but it argued that his
 repeated                                           with the FBI raised legitimate C(JllCCmS that
 could not be mitigated and that justit1ed the rev(}c.ati()nof his security c1earanc,e.

          Inc ARC a~ees with the FBI and affirms the FBrs recon.~ideration decision. In doing
                                                                                                            b6 per FBI
 sn, it acknowledge{                lothcf\vise unblemishcd record with. the FBI and the
                                                                                                            b7C per FBI
 ro.ntributiol1s he has made to it durin his service .. As an ,ARC member noted at the hearin:,             bS per FBI
 however. the record does sh w tha                     ngaged lnL.,I___.- ......•..
                                                                               ---.----           _ J       b7E per FBI

L.-___.___.~~---.---. ---.~~---. ---.---.~      raises obvious and  significant       conce.rns about his
 trustworthiness and reliability. As a result of this misconduct, the FBi reasonably had doubts
 about givin~               laccess to classified information. The ARC.'s governing .standard
 requires it to resolve such doubts in favor of :national security, and it therefon.~ affirms the FBI's
 reconsideration decision on that basis.


 C(;~: Bradley   Vt.1einsheimer
     Micha.el Nannes
     Eric Daniels, Attorney AdvisQr




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                                                                                                Exhibit A
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                                                             U.8. n¢partDlt~nt of Justke




       MAY~l 20f9
 Memorandum for Gerald Roberts, Jr.
                    Assistant Director, Security Division
                    Federal Bureau of Investigation
                                        ,IU IJ
 From:              Monty Wilkinson '~ft~~b(t."._-·,,~·"'"''''''''··''''
                                                  ..
                               Chairman, Access Review Committee

 Subject;                      I Access Review Committee AQja.l od                        .....                 b6 per FBI
                                                                                                                b7C per FBI

                               Federal Bureau of Investigation

            The Access Review Conmlittec (ARC) met on March 27.2019, to consider
______               _.kppealofthd                        klecision of the Federal Bureau oflnvestigation
 (FBr) to revoke his security        clearance. For the reasons discussed below, the ARC afflmls the
 FBI's decision ..

                                                    Background

           entered ort du . with the FBl .
r---~------------~~~~~~~~~~~~-------------------------
                                           __                                                                   b6 per
                                                                                                              ~b7C
                                                                                                                         FBI
                                                                                                                    per FBI
                                                                                                                b5 per FBI
                                                                                                                b7E per FBI




L-            ---.-__. -r------------,ase
                    •..•....                   on t esc factors, t . e      etermme t .at t e
 concerns rruse        y                 conduct amoWlted to a signiticapt and unacceptahle risk to
 the national security. sUpporting the revocation of bjs clearrwce, l OnTkbe                     I~BI
 atlinned this decision on reconsideration. an~                      pppealed the reconsideration
 decisiOri to the ARC i~                    I
                                 Guidelines tor Revocation ()fSecuritv Clearance

            A review idcntitied that the foUO\",ing Adjudicative Guidelines set forth by the Security
 Policy Board are applicable to this app~al:




 I Separately, the FBI remtrveJ                                  based qn T& undCtIYfOf misconduct, but its
 DiscipJinary Review Board mitigatoo the penalty to a 105-day suspension in
                                                                                                               b6 per FBI
                                                                                                               b7C per FBI




                                                                                                   Exhibit A
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Guideline E; Personal Conduct. The concern is that conduct involving questionable judgment,
lack of candor. dishonesty, or unwillingness. to comply with rules and regulations can raise
questions about an individual's reliability, trustworthiness and ability to prote.ct clas~ified
information. Conditions that could raise a security concern and may be disqualifying include
deliberately providing false or misleading information concerning relevant facts to an employer,
investigator, security official, competent medical authority, or other official government
representative. Conce.ms may also be .t'aisedby refusal to provide full, frank and truthful
answers to lawful questions of investigators, security ot1icials or othe·r official represematives in
connection \.vith a personnel security or trustworthiness determination. Conditions that could
raise a security concern and may be disqualifying also include: credible adverse informatlon that
is not explicitly covered under any other guideline and may not be sufficient by itself for an
adverse determination, but which, when combined with all available information, supports a
whole-person as.<;essment of questionable judgment, untrustworfhiness,         unreliability,   lack of
candor) uri\\tillingness to comply with rules and regulations, or othe,r charactedstics indicating
that the individual may not properly safeguard protected information.
Atfjudicative Guideline 1, Cri'minal Conduct. Criminal activity creates doubt about a person's
judgment, reliability~ and trustworthiness because, by its very nature, it calls into question a
person ~s ability or willingness to comply with laws, rules, and regulations. Conditions that could
raise a secur.ity concern and may be disqualifying include: a pattern of minor offenses, anyone
of which on its own would be unlikely to affect anationa:l security eligibility de.cision, but which
in combination cast doubt on the individual's judgment~ reliability, or trustworthiness; and
evidence (including. but not limited to. a credible· allegation, an admission, and matters of
official record) of criminal conduct, regardless of whether the individual was fonnally charged,
prosecuted, or c.onvicted.
                            ;FBI's R~ns        for Revokiug Security Clearance


                           ~~Ithe FBI initiated an il1vcsti~ation based onl
                                                                                                              b6 per FBI
~      I                                                                                              ~r I    b7C per FBI
                                                                                                              b5 per FBI
                                  Ihad oreviotislv established, without FBI authorizationJ                I   b7E per FBI
                                                                                                 I
                I The investigati.oll revealed tha~




                                                                                                              b6 per FBI
        Durin .his conversaticm with                                             denied havin                 b7C per FBI
                                                                                                              b5 per FBI
                                                                                                              b7E per FBI




                Istated that h~


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                                                                                                 Exhibit A
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                                                                                                                        b6 per FBI
                    re    rted the incident to the FBI. He claimed that                        had been c.aused         b7C per FBI
                                                                                                                        b5 per FBI
                                                                                                                        b7E per FBI




         still denied that th




                                                                                                                      b6 per FBI
                                                                                                                      b7C per FBI
                                                                                         .       ..                   bS per FBI
                                                                                It also detemllned that he had        b7E per FBI
 . rovided false information             to FBI investi ators abou
                                                 .~~----~--~------------~--------~~
                 In addition, the FBI found tha                            ___~   responsibility fu.L...
                                                      emon ..s;;tr&teda pattem .()f disobeying laws and putting the
...._sa-fe-t-.y-o-r-th-e-p-u-b-l-ic-·
                             ·a-t-r-is
                                    ..•.
                                     k-.-T-h-e-F-·
                                                B..•.J curtduded that this misconduct .$ a whole .reflected
   unfavorably  onl                      I        reliability, judgment. and trustworthiness, and that it rendered
   him ineligible to hold a secllrity clearance.

                                     Standard Governing the ARe s Examination
          The· ARC is charged uttdet the Adjudicative Guidelines with examining a sufficient
 period of a person's life to make an affirmative determination whetber the person is eligible for a
 security clearance. In this process, the ARC must carefully weigh a number of variables 'known
 as the "whole person concept." In evaluating the reicvance of an individual T s conduct, the
 following factors should be considered: (1) the nature, extent, and seriousness of the conduct;
 (2) the clrcum,stances surrOlmding the conduct, to include knowledgeable         participation; (3) the
 frequency and recency of the conduct; (4) the individual's age and maturity at the time of the
 c(}nduct~ (5) the extent to which participation is voluntary; (6) the presence or absence of
 rehabilitation and other pertinent behavioral changes; (7) the m(ltivation for the conduct; (8) the
 potential for pressure; coercion, exploitation, or duress; Ill1d (9) the likelihood of continuation or
 recurrence. The governing executive order further clarifies that "eligibility for access to
 dassified infilfmatiQn shall be granted only to employees ... whose personal and professional
 history affinnatively indicates loyalty to the United States, s.trength of character~ trustworthiness,
 honesty, reliability, discretion; and soq.nJ Judgment; as well as freedom f-rom.conJlicting
 allegiances and potential for coercion, and willingness and ability to abide by regulations
 governing the Use, handling, and protection. of classHied infonnation..;' Executive Orde.r
 No. 12968, § 3.1 (b) (1995).

          The Adjudicative Guidelines pn}vide that every case must bejudg:ed ()fl its own merits;
 but that "any doubtconcernmg personn.el being considered for access to classified information
 will be resolved in favor of national security:' FUlther, "the ultim.ate determination of whether
 the grantlng ot continuing of eligibility for a secui'ity cleara.nce is clearly consistent with the
 interests of national security must be an overall common sense judgment bas~d upon careful

                                                           3




                                                                                                         Exhibit A
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  consideration of the [individual guidelines] ... in the context of the whole person." The,
  individual seeking the security clearance bears the burden (.'rfproving that st•.ch clearance.is fully
  consistent "vith the interests of national security.

                                            Reconsideration Request and Appealto the ARC

                                                                                                'X lained      that his tnisconduct             b6 per FBI
                                                                                                                                                b7C per FBI




                                                                                        ass.erted that sllch misconduct would

                                                                                                                     y making poor choices in
L:,.""':e-', --ut':"'"ll-re-'.-r-----1--:st-at':"'"c"T"':T"",
                                       -:at~,-e-,"-'-as-'-'-t,'m"""'T"-arra""':' '-s-s-e"T'T,-.-y..,.....s-· -'-m...J,lsc:(mduct, but he also
  m(lintained that he could make positive contributions to the FBI and would not increase its
  vulnerability or risk.1                Idid not supplement his brief ARC appeal request with any
  additional atguments or information.


                                                       Heating Proceedings and Discussion
                                                                                                                                                b6 per FBI
                                        ~-~~-~~=---~--~--~--~~~--~-~-~---~7C                                                                        per FBI

                                                              also described his resolve to be more
~----~~~~--~----~--~----~~~--~
accountable for his actions and to take steps, including therapy, to that end; he stated that he
  would no longer abuse the privileges that he had been givj;:n. The FBI telied on the written
  record tO,argue tha~                    ladmitted misconduct raised issues about his
  trustworthiness, reliability, andjudgment that could npt be mitigated.

                                                                                                                                                b6 per   FBI
               The ARC agrees and affirms the FBI's reconsicterdtloll decision.                            The ARC
                                                                                                                                                b7C per FBI
  acknowledges I                    lexpressionsof regret fo_rb:ismisc<Jnduct and his intention to bS per FBI
  make mote res onsible decisions in his ersohal and rofessionai life. At the same time.              b7E per FBI
  however.
~                                                 _,..,__ _,,__ •......•
                                                                       aises legitimate doubts about
  his trustworthiness andjudgrneJlt if entrusted with classified information. The ARC's governing
  standard requires it to resolve such doubts in favor of national security, and it therefore affirms
  the FaI's rec.onsideration decision.




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                                                                                                                              Exhibit A
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                                                         u.s~Department of Justice




                                                         Washingtoll, D.C. 20530

             MAR 25' 2019

    MEMORANDUM FOR GERALD ROBERTS, JR.
                 Assistant Director, Security Division
                 Federal Bureau ofInvestigation

    FROM:                  Monty Wilkinson    ,dJdiJJ.t__
                           Chair, Access Revi~~'~~~mittee
                                                                                                        b6 per FBI
    SUBJECT:               Access Review Committee Appeal o~
                          I                    I                    ~------~                            b7C per FBI

                           Federal Bureau of Investigation

          The Access Review Committee (ARC) met on November 13,2018, to consider
-----.Iappeal         of the August 22,2016 decision of the Federal Bureau ofInvestigation (FBI)
 to revoke her security clearance. For the reasons discussed below, the ARC affirms the FBI's
  decision.

                                               Background
                                                                                                        b6 per FBI
                                                                                                        b7C per FBI
                                                                                                        bS per FBI
                                                                                                        b7E per FBI




    on t ese events, t e
    to a significant and unacceptable risk to the national security, supporting the revocation of her
    clearance. I                     Ithe FBI affirmed this decision on reconsideration, andD
I           lappealed the reconsideration decision to the ARC.

                              Guideline for Revocation of Security Clearance

           A review identified that the following Adjudicative Guideline set forth by the Security
    Policy Board is applicable to this appeal:

    Guideline A, Allegiance to the United States. The concern is that an individual must be of
    unquestioned allegiance to the United States. The willingness to safeguard classified information
    is in doubt if there is any reason to suspect an individual's allegiance to the United States.
    Conditions that could raise a security concern and may be disqualifying include association or




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 Subject: Access Review Committee Appeal o~                                                                                         b6 per FBI
                                                                                                                                    b7C per FBI
          Federal Bureau of Investigation  --------------


 sympathy with persons who are attempting to commit, or who are committing, any of the
 following acts: involvement in, support of, training to commit, or advocacy of any act of
 sabotage, espionage, treason, terrorism, or sedition against the United States of America.

Guideline B, Foreign Influence. Foreign contacts and interests may be a security concern if the
individual has divided loyalties or foreign financial interests, may be manipulated or induced to
help a foreign person, group, organization, or government in a way that is not in U.S. interests, or
is vulnerable to pressure or coercion by any foreign interest. Adjudication under this Guideline
can and should consider the identity of the foreign country in whjch the foreign contact or
financial interest is located, including, but not limited to, such considerations as whether the
foreign country is known to target United States citizens to obtain protected information and/or is
associated with a risk of terrorism. Relevant factors for consideration include contacts with
foreign family members or friends, foreign financial interests, contacts with foreign
governments, and counterintelligence information indicating an unacceptable risk to national
security.

Guideline E, Personal Conduct. The concern is that conduct involving questionable judgment,
lack of candor, dishonesty, or unwillingness to comply with rules and regulations can raise
questions about an individual's reliability, trustworthiness and ability to protect classified
information. Of special interest is any failure to provide truthful and candid answers during the
security clearance pr0gess or any other failure to cooperate with the security clearance process.
Factors for consideration that may be disqualifying include deliberate omission or concealment
of relevant facts during an investigation, a pattern of rule violations, or credible information that
supports a whole-person assessment of questionable judgment or untrustworthiness.

Guideline F, Financial Considerations. Failure or inability to live within one's means, satisfy
debts, and meet financial obligations may indicate poor self-control, lack of judgment, or
unwillingness to abide by rules and regulations, all of which can raise questions about an
individual's reliability, trustworthiness and ability to protect classified information. An individual
who is financially overextended is at risk of having to engage in illegal acts to generate funds.
Conditions that could be disqualifying include inability or unwillingness to satisfy debts.

                               FBI's Reasons for Revoking Security Clearance                                                    b6 per FBI
                                                                                                                                b7C per FBI
         After a periodic reinvestigation ofl                        Ithe FBI concluded that!                          I        bS per FBI
                                                                                                                                b7E per FBI
                                                                                                                           It
also determined thatl                                                                                                               I
                                                        r The FBI further noted thatl                                           I
                                                                                                                            r
                                                                                   IIt also concluded that
~-------------------------
1 In the bracketed, sensitive portions of its supporting material, the FBI explained its concerns regardin~

See FB~                    ILetterhead Me:orandum       LHM at 13 FBI File Part 1 .                         '------'
2 The FBI investigated i~                  p~lIe=e;a...                     ""_                                            ""
but the Department declined prosecution 0                                      See LHM at 12.

                                                             2




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                                                                                                     b6 per FBI
 Subject: Access Review Committee Appeal o~                                              ~           b7C per FBI
          Federal Bureau ofInvestigation   --------------                                            bS per FBI
                                                                                                     b7E per FBI




                                                                                                         b6 per FBI
                                                                                                         b7C per FBI
                                                                                                         b5 per FBI
                                                                                                         b7E per FBI




L..-                                                          ___"In a sensitive portion of its
 decision, the FBI provided an overall summary of its concerns, which it believed could not be
 mitigated and supported revocation o~                I
                                                    clearance. See FBI File, Part 5, Tab 7 at 13.

                                Standard Governing the ARC's Examination

          The ARC is charged under the Adjudicative Guidelines with examining a sufficient
 period of a person's life to make an affirmative determination whether the person is eligible for a
 security clearance. In this process, the ARC must carefully weigh a number of variables known
 as the "whole person concept." In evaluating the relevance of an individual's conduct, the
 following factors should be considered: (1) the nature, extent, and seriousness of the conduct;
 (2) the circumstances surrounding the conduct, to include knowledgeable participation; (3) the
 frequency and recency of the conduct; (4) the individual's age and maturity at the time of the
 conduct; (5) the extent to which participation is voluntary; (6) the presence or absence of
 rehabilitation and other pertinent behavioral changes; (7) the motivation for the conduct; (8) the
 potential for pressure, coercion, exploitation, or duress; and (9) the likelihood of continuation or
 recurrence. The governing executive order further clarifies that "eligibility for access to
 chissified information shall be granted only to employees. . . whose personal and professional
 history affirmatively indicates loyalty to the United States, strength of character, trustworthiness,
 honesty, reliability, discretion, and sound judgment, as well as freedom from conflicting
 allegiances and potential for coercion, and willingness and ability to abide by regulations
 governing the use, handling, and protection of classified information." Executive Order No.
 12968, § 3.1(b) (1995). The Adjudication Guidelines provide that every case must be judged on
 its own merits, but that "any doubt concerning personnel being considered for access to
classified information will be resolved in favor of national security." Further, "the ultimate
determination of whether the granting or continuing of eligibility for a security clearance is
clearly consistent with the interests of national security must be an overall common sense
judgment based upon careful consideration of the [individual guidelines] ... in the context of the



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    Subject: Access Review Committee Appeal 0~ •••                                            1           b6 per FBI
                                                                                                          b7C per FBI
             Federal Bureau of Investigation                                                              b5 per FBI
                                                                                                          b7E per FBI


    whole person." The individual seeking the security clearance bears the burden of proving that
    such clearance is fully consistent with the interests' of national security .

                           . Reconsideration Request and Appeal to the ARC




                                                                                                          b6   per   FBI
                                                                                                          b7C per FBI
                                                                                                          b5 per FBI
                                                                                                          b7E per FBI
                                                                                had ended man




            RegardinghedL..__       ~-:---:---::---::~ __ ~ __     ~"",!","         ~___.largued
    that the FBI had misrepresented their significance and extent. With respect to the latter.
                Iclarified that she had not seed                                               Irora
                                                                   I She reoorted seeinl1l         I




                                                                                                          b6 per FBI
            With respect t.,__                                            ----I==---:;:;.,r,.-=j
                                                                                                          b7C per FBI
    coliceal them and argued that the FBI had alread been aware 0                                         b5 per FBI
I               I Regarding her
    more detailed explanations i·'-.-----.-----.,......------    -             ----'
                                                                                                          b7E per FBI


    re uired to make s ch discI


    unusual circumstances about


                                                   also shared the results of another private polygraph
..._ex-am--in-a-ti-o-n-s
                ..•.
                 h-e..•.
                     h-a-d-a-rr-a-n-g-e-d-a-t..,..h-er-own-
                                                ...•
                                                  expense: the examination had aske~                 I
                                                                           I
           On the overall issue 0
                                   ..._~-----~---~~--------------------~~__.
                               argued that the record showe


..._------~S e asserted that she had always been very forthcoming with the FBI about
                                                      4




                                                                                                   Exhibit A
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                                                                                                                     b6 per FBI
   Subject: Access Review Committee Appeal o~•..                                                 ....•               b7C per FBI
            Federal Bureau of Investigation                                                                          bS per FBI
                                                                                                                     b7E per FBI




   alleged that the FBI's Security Division had apparently decided u on a result and constructed a
   speculative reading of her background to fit that result.
                                                                                    After the FBI




                                     Hearing Proceedings and Discussion

 _----'A""""'""t
              t~hehearing, the FBI argued that there were a number of risks associated with
                                                                                                                     b6 per FBI
                 hat could not be miti ated. It a ain maintained that                                                b7C per FBI
                                                                                                                     bS per FBI
                                                                                                                     b7E per FBI
                                                        It further cited

                           emphasized the


               would reasonably have any effect on her alle iance to the United States.
~------~----~
      also denied having any knowledge that


                                                                                                                     b6 per FBI
                                                                                                                     b7C per FBI
                                                                                                                     b5 per FBI
                                                                                                                     b7E per FBI
...•..                     -----atthat time, and th L...-                                     --'
                       Iso maintained that her otherwise exemplary service record with the FBI
.__--------------~
 showed her loyalty to the United States.

           The ARC agrees with the FBI that the record supports the revocation ofl                           I
 security clearance. As noted above, the record contains information raising legitimate and
 serious concerns abou                                                          In addition,1                    I
                                                    ould raise concerns both about her truthfulness and about
L..-----.-----r .•.....                        l..Jrnilarly, the extensive nature o~
                    ,.....-,....r-------,. ....•.•.                                                      I


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                                                                                                  Exhibit A
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                                                                                                          b6 per FBI
    Subject: Access Review Committee Appeal ofl                                                           b7C per FBI
             Federal Bureau of Investigation   '----------------'


                                              could make her a target for CI activity and subject
~----------------------------~
 her to possible attempts at coercion or compromise. In reaching these conclusions, the ARC is
    not casting aspersions againsi              Iregarding her loyalty to the United States. Indeed, at
    the hearing, counsel for the FBI stated that the FBI itself made no such finding or suggestion.
    The dispositive issue, instead, is whether the record establishes risk or doubt about entrusting
I               !withclassified information. Based on this record, the ARC agrees that the FBI could
    reasonably have such concerns, and our governing standard therefore requires us to resolve those
    concerns in favor of national security and affirm the FBI's reconsideration decision.


           cc: Brad Weinshehimer
               Michael Nannes
               Eric Daniels, Attorney Advisor




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                                                                  U.S. Department of Justice




                                                                  Washington, D.C. 20530


            MAR ~6 2019


 MEMORANDUM FOR GERALD ROBERTS, JR.
              Assistant Director, Security Division
              Federal Bureau of Investigation

 FROM:                        Monty WilkinsonA~~){                _
                              Chairman, Acces; 'i/..~~i;~ Committee
                                                                                                                          b6 per FBI
 SUBJECT:                     Access Review Committee Appeal ofl                                                          b7C per FBI
                          I                   I                               ~=======
                              Federal Bureau of Investigation

             The Access Review Committee (ARC) met on November 8, 2018, to consider
",__~        __     !!,!!!,!""", _ _.Iappeal ofthd          Idecision of the Federal Bureau of
     Investigation (FBI) to revoke his security clearance. For the reasons set forth below, the ARC
     affirms the FBI's decision.

                                                     Background

                        ntered on du     with the FBI i

                                                                                                                          b6 per FBI
                                                                                                                          b7C per FBI .
                               .-==,......-----------------------.....L--.                                             b5    per FBI
                                                                                                                          7E per   FBI

                                                                               The FBI also determined that

 Based on these events, the FBI concluded that the concerns raised by                conduct
 amounted to a significant and unacce table risk to the national security, supporting the
 revocation of his clearance.!                       the FBI affirmed this decision on

                         ----    ppealed the reconsideration decision to the ARC.




 J Separately, the FBI removec!l
                               •..__    •..•lfrom the rolls of the FBI onl                 Ibased on this underlying
 misconduct.                                                              •.•.
                                                                            ------'.




                                                                                                         Exhibit A
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    Memorandum for Gerald Roberts, Jr . ..._-----------                                      __                       Page 2
    Access Review Committee Appeal            04                                                  I FBI                           b6 per FBI
                                                                                                                                  b7C per FBI




                                Guideline for Revocation of Security Clearance

           A review identified that the following Adjudicative               Guideline set forth by the Security
    Policy Board is applicable to this appeal:

Guideline E, Personal Conduct. The concern is that conduct involving questionable judgment,
lack of candor, dishonesty, or unwillingness to comply with rules and regulations can raise
questions about an individual's reliability, trustworthiness and ability to protect classified
information. Conditions that could raise a security concern and may be disqualifying include
deliberately providing false or misleading information concerning relevant facts to an employer,
investigator, security official, competent medical authority, or other official government
representative. Those conditions also include credible adverse information that is not explicitly
covered under any other guideline and may not be sufficient by itself for an adverse
determination, but which, when combined with all available information, supports a whole-
person assessment of questionable judgment, untrustworthiness, unreliability, lack of candor,
unwillingness to comply with rules and regulations, or other characteristics indicating that the
individual may not properly safeguard protected information. Factors considered under this
guideline could include a pattern of dishonesty or rule violations, as well as personal conduct, or
concealment of information about one's conduct, that creates a vulnerability to exploitation,
manipUlation, or duress by a foreign intelligence entity or other individual or group.

                                FBI's Reasons for Revoking Security Clearance

       After an investigation that                                                             the FBI concluded
based on a sworn statement fro

the FBI. The FBI also found tha




                                                                                                                         b6 per FBI
           In evaluatin                                                                           ••...........•..•.
                                                                                                       ----       •...•...
                                                                                                                     _" b7c per FBI
~                                    ~~~~~~~~~~~~~~~~~----------~~~                                                      bS per FBI
                                                                                                                                  b7E per FBI
                                                                                 outlined above, the FBI
expressed its c;:.;on::;c;.;:e:;.::.rn:::..::th::;a::.:t;L_
                                               =~=;:.:..-;.;;.-;:;l~S:o_=_wn::.-m;,:;.-::.::;;an::a:e:;.:m=en""t:;...'
                                                                                             s::...=.::in=s""'tru'"""""c
                                                                                                         .•••
                                                                                                         ti.••.
                                                                                                           on""s"'"'""an""d"'--
                                                                                                                      __ --,
warnings fro




                                                                                                             Exhibit A
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Memorandum for Gerald Roberts, Jr. _-------------.                                            Page 3
                                                                                                        b6 per FBI
Access Review Committee Appeal o~                                             ~BI                       b7C per FBI
                                                                                                        b5 per FBI
                                                                                                        b7E per FBI

In addition, the FBI determined that he had beenl                            ~y denying
knowledge!,                               Icould be a problem. Given these circumstances, the FBI
concluded that]             fonduct posed an unacceptable risk to national security that could not
be mitigated, and it revoked his security clearance on that basis.

                               Standard Governing the ARC's Examination

        The ARC is charged under the Adjudicative Guidelines with examining a sufficient
period of a person's life to make an affirmative determination whether the person is eligible for a
security clearance. In this process, the ARC must carefully weigh a number of variables known
as the "whole person concept." In evaluating the relevance of an individual's conduct, the
following factors should be considered: (1) the nature, extent, and seriousness of the conduct;
(2) the circumstances surrounding the conduct, to include knowledgeable participation; (3) the
frequency and recency of the conduct; (4) the individual's age and maturity at the time of the
conduct; (5) the extent to which participation is voluntary; (6) the presence or absence of
rehabilitation and other pertinent behavioral changes; (7) the motivation for the conduct; (8) the
potential for pressure, coercion, exploitation, or duress; and (9) the likelihood of continuation or
recurrence. The governing executive order further clarifies that "eligibility for access to
classified information shall be granted only to employees . . . whose personal and professional
history affirmatively indicates loyalty to the United States, strength of character, trustworthiness,
honesty, reliability, discretion, and sound judgment, as well as freedom from conflicting
allegiances and potential for coercion, and willingness and ability to abide by regulations
governing the use, handling, and protection of classified information." Executive Order No.
12968, § 3.1 (b) (1995).

        The Adjudication Guidelines provide that every case must be judged on its own merits,
but that "any doubt concerning personnel being considered for access to classified information
will be resolved in favor of national security." Further, "the ultimate determination of whether
the granting or continuing of eligibility for a security clearance is clearly consistent with the
interests of national security must be an overall common sense judgment based upon careful
consideration of the [individual guidelines] ... in the context of the whole person." The
individual seeking the security clearance bears the burden of proving that such clearance is fully
consistent with the interests of national security.

                         Reconsideration Request and Appeal to the ARC
                                                                                                        b6 per FBI
                                                                                                        b7C per FBI
                                                                                                        b5 per FBI
                                                                                                        b7E per FBI




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  Memorandum for Gerald Roberts, Jr. _-----------_                                               Page 4
                                                                                                           b6 per FBI
  Access Review Committee Appeal ofl                                            1 FBI
                                                                                                           b7C per FBI
                                                                                                           bS per FBI
                                                                                                           b7E per FBI




'__-~~--~~-------,--~----~                                 Given these circumstances
                                                                                      ~_--_~
 argued that a "whole person" analysis of the matter left no valid reason to deny him a secunty
  clearance.
                                                                                                           b6 per FBI
         In his ARC appeatJ            hargely restated and expanded u on the                              b7Cper   FBI
  reconsideration request. He argued that his greater matur;.:it~y..:an:::::L._....-------...ru            bS per FBI
  very unlikely for him to repeat any misconduct involving                 he also pointed out that the    b7E per FBI

  consequences for him from his removal and the clearance revocation made even clearer the
  im ortance of avoiding similar misconduct in the future. With res ect to the •..I         ---,__ --,
           he ar ed a ain that those                                   but that the assage of time,
                                                                                           reduced the
~-------~~--~-------~---------~                        ~ __ ~                          denied making
                         and asserted that his remarks in theIr     context were truthful
     ~-------~--~
  and accurate. concluded by arguing that no specific risk of a security breach had been
  established or existed now, and he sought restoration of his security clearance on that basis.

                                 Hearing Proceedings and Discussion
                                                                                                           b6 per FBI
           At the hearin               .___                     ---------------,-Ob7C                          per FBI
 ~------------~H~e~a~ss~e~rt~e~d~t~h=m~h~l~·s.-----~---~-                                            ~bS     per FBI
 ~------------~-------P-----~~~~~~---~~b7E                                                                    per FBI
                                         ointed out that the




                                                                                                           b6 per FBI
          The ARC agrees with the FBI that the record supports the revocation ;;.o::.lfl      ....•......•b7Cper FBI
  security clearance. (In doing so, it does not rely on the matters involving his 1•...         ___'      bS per FBI
I                    IIt finds that the FBI could have legitimate doubts about the purpose of             b7E per FBI
1                                 land that the record supports the view thatL,.1             ___'




                                                                                           Exhibit A
           Case 1:23-cv-03435-RDM Document 1 Filed 11/15/23 Page 28 of 44

    Memorandum for Gerald Roberts, Jr. _-------------.                                         Page 5
    Access Review Committee Appeal ofl                                         !FBI                  b6 per FBI
                                                                                                     b7C per FBI
                                                                                                     bS per FBI
                                                                                                     b7E per FBI
L-                       ----         I In addition, his admittedl
                                     •••..•                                                     bver
    an extended period I                Iraise valid concerns about whether his personal life could
    expose him to foreign counter-intelligence threats and coercion, particularly sinceI...          __'
I                                     I  The ARC acknowledge~                  Iservice record with the
    FBI and does not question his commitment to government service or his loyalty to his country.

    At the same time, however, the ARC is required by its governing standard to resolve any doubts
    in favor of national security. Since the FBI had legitimate doubts based on these matters, the
    ARC must affirm its reconsideration decision and its revocation o~              ~ecurity
    clearance.


    cc: Bradley Weinsheimer
        Michael Nannes
        Eric Daniels




                                                                                                                   .1




                                                                                           Exhibit A
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         JUN 2:8 2019



 MEMORANDUM FOR GERALD ROBERTS, JIt
              Assistant Din.'Cior, Security Division
                                Federal Bureau ()f Investigati(m
                                                    ,1I1At ilt_,--~"~-·",
 FROM:                          Monty Wilkinson 'qt""l~~:'"'
                                Chair~Access Review Committee

 SUBJECT:                       Access Review Committee Appeal o~                                                    b6 per    FBI
                            I                   I                       --~                                          b7C per    FBI
                                Federal Bureau of Investigation

___      T.."be AC(~essReview Committee (ARC) met on September 28,2016, to.,consider
         ..••
___            ~ppeal ofthq
            ....•                      jdecisio.n o.fth~ Fed~ral Bureau of Investigation (FBI) to
 l'evoke his security clearance. 'For the reasons discus-sed below, the ARC atlitms the, FBI's
 decision.'



                                .._ .....-... April D. Brooks, Acting Assistant Director, Security
                                      securit 'clearance. The Ievocation was based o.n the
                      ~~~----~=--=~--~~~~~~~~~=--=-==-~~~~----~b7C
                                                                                                                     b6 per
                                                                                                                         per
                                                                                                                            FBI
                                                                                                                             FBI
~-=------=--=------------------------------------------------------------~b5                                            per FBI
                                                                                                                     b7E per FBI


 his counsel,          requested documents from the FBI i~n_,__            ~~~Wo;i;l=1.......,

 reconsideration of the decision to revoke his clearance in
 FBI affirmed its de~ision after reconsideration; and          ~--._~----------------------~
                                                            then requested a personal
 appearance before the, ARC.




 j Afte.r the hearing ,~                khe composition of the ARC Changed. None ()fth~ current ment~rs {If the
 ARC participated in the hearing; h\)~ver, the ARC's counsel was present The \:urrent ARC members have
 thoroughly reviewed the record in this matt~r and were briefed by~he ARC's counsel in teaching this decision.

 2~parately, as discussed   below, the Fm ;proJ:lOre_,d
                                                 '_----., ~mova.l i~
                                                 ••..                               Ibased on these events, but it   b6 per FBI
 mitigated the peMlty to a 6U-day suspenSion In_        jandimposed a last-:ehance settlement a:g~errt(l!lt.         b7C per   FBI
                                                           1



                                                                                                   Exhibit A
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                           Guidelines for Revocation otSecurity Clearance                                                    b6 per FBI
                                                                                                                             b7C per FBI
          In itsl             Idecision •.the FBI identit1ed the foUowing .Adjudicative Guidelines set
 tl)rth by the Security Policy Board as applicable to this appeal:

 Guideline .E, Persontll Conduct Conduct involving questio.nable judgluent, .Iack of candor,
 dishonesty ~or unwiUingness to comply with rule.s and regulations can nuse questions ahout an
 individual's reliability, tru.mvorthiness and ability to prote(~t dassifled inf~)rmation. Of special
 interest is any failure to provide truthful and candid answers during the security clearance
 process or any other failure to cooperate with the.security dearancc process.

 Conditions that may also be disqualifyingindu.de     credihle adverse information that is not
 explicitly covered under any other guideline and :may not be sufficient by itself for an adverse
 determinatioll, but \"ihich~ when comhined with aU available infoffilation supports a whole-
 person assessment of questionable judgment~ l.tntrustwo!lh:iness~ unreliability, lack of candQr!
 Ull\villingness to comply \\~:thrules and regulations, or .other dlaracteristics indicating that the
 person .rnay m)t properly safeguard protected information. this includes but is not limited to
 consideration of a pattern of dishonesty or rule violations.

 Guideline.1, Criminal Conduct. Criminal activity creates      doubt about a person's judgment.
 reliability and trustworthiness. By its very nature, it calls into question a person's ability or
 willingness to comply \\rith Iaws~rules and regulations. Unfa:vorable clearance action will
 nonnally occur based on evidence of a single serious crime or multiple le~ser offenses! or
 allegation or admissjon of criminal c.onduct, tegar.dless of whether the pe.rson was formally
 c:harged. fimnally prosecuted or convicted.

                           FBI's Reasons for Revoking Sc<:urity Clearance

        The FBI based. its revocation    od.
                                                        Icl
                                                        .
                                                          •e...•. c_e_o_'.•...•
                                                            a_ra_I1_.                                                        b6 per FBI
                                                                                                                             b7C per FBI
                                        He claimed that                                                                      b5 per FBI
                                                                                          later admittlld.                   b7E per FBI




                                               He maintained that version of events in talking to
                                                                                     assigned to the




                         !nistri,ct Attorney's office investigated the matter as al                                          b6 per FBI
.__                                                      IAs a resuh"             .nter"'oo"''''i-nt-o-a-p""'l:-ea-·,-___'   b7C per FBI
                                                                                                                             bS per FBI
 agreement that would discharge him of allY liability for the ofIenses by                                  . he              b7E per FBI
 complied with its tam';;. While the criminal matter was being investigate.           ,                       HI

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                                                                                                          Exhibit A
           Case 1:23-cv-03435-RDM Document 1 Filed 11/15/23 Page 31 of 44




                                                                     removal On




                                  Standard Governing the ARCs Examination
         The ARC .is chargfo!<i.under the Adjudicative Guidelines with examining a sufficient
period of a person's life to make an affitmative determination whether the person is eligibl.e for a
security clearance. In this process, the ARC must carefully ,~'eigh a nurnbet of variables known
as the "whole person concept." ]n evaluating the relevance of an individual's conduct, the
f()nO\~;ng faCU)TSshould be considered: (1) the nature~ extent, and seriousness oftbe conduct;
(2) the t·ircumstances surrolmdingthc conduct, to include knowledgeable participation; (3) the
1requency and recency of the conduct; (4) the individual's age and maturity at the time ofthe
conduct; (5) the extent to which participation is voluntary; (6) the presence or absence of
rehabilitation and .othet pertinent behaviQral cllilngcs; (7) the motivation for the conduct; (E) the
potential for pressure, coercion, exp.loitation, or duress; and (9) the likelihood of continuation or
re.currence. The goverrting.executive order further clarifies that '"eligibility [l)T access to
classified information shall be granted only to employees ... whose personal and professional
history affirmatively indicates loyalty to the United States, strength of chara<,,'1cr~trustworthiness,
honesty.  relia:biHty, discreti()n~ and s(lllndjudgment. as well as freedotn from c{¥nfJicting
alleghlnces. and potential fot ,-loercion. and v.illingncss and ability t(.l abide by regulations
governing the use, handling, and protection ofc1assified infornlation." Executive Order No.
12968".§ 3.1 (b) (1995).

           The Adjudicative Guidelines provide that every case must be judged on its own. merits,
but that "any doubt concerning personnel heing considered for access to classified intonnation
will be resolved in favor of national security." Further, "the ultimate determination of whether
the granting or continuing of eligibility fOr a se(.~urityclearance is clearly consistent with the
interests of national security must be an overall common sense judgment based upon careful
consideration of the [individual guidelines] ... in th~ context of the whole person .." The
Individual seeking the security clearance bears the burden of proving tbat such clearance is fully
consistent with the interests of national secutity.

                             Reconsideration   Request anl\i Appeal to the ARC

           In requesting reconsidcn,.tion   of the Fsrsiuitial decision.1         Iexpressed his deep     b6 per FBI
                                                                                                          b7C per FBI
'"guilt and remorse" overl                           land his regret oVer th(~"sharn.e" he had            b5 per FBI
brought upon himself. He emphasized, however, that he would not repeat ihat misconduct in the             b7E per FBI
fttture and detailed his otherwise exemplary record of service, including as a~                     I
                                                       3



                                                                                              Exhibit A
          Case 1:23-cv-03435-RDM Document 1 Filed 11/15/23 Page 32 of 44




Iadrmtted that~hich  111cludedL...- __
                his conduct had sho
                                       -t"'"-----........:::==.::==..:.:::;.._==.
                                         ~L-----------...Jl..I.LIr.,;I"'WO~
                                                                                                                b6 per FBI
                                                                                                                b7C per FBI
                                                                                                                b5 per FBI
  had no history of such tniscortduct                                                                           b7E per FBI

  that he had
......,..---,,....- ....-_...,....  ..,...-        ,....-                      __,investigate the matter.
    He .further noted. that the FBI had already ta.ken aCCQunt of his performance and qualities as a
    "whole i1crson" by choosing not to remove him but to suspend him and place him on a last-
    chance settlement agreement.

                                    Hearing Proceedings and Discussion
                                                                                                                b6 per FBI
           1       largued at the hearing that many FBI employees had committed misconduct                      b7C per FBI
    implicating 1                              Iyet had retained their security dear.mc.es based on a           b5 per FBI
    similar "whole person" analysis of those matters. He asked the ARC to apply that .standard in               b7E per FBI

    this case and to tind th.a~                     land associated misconduct was "one serious
    mistake ofjudgmcnt entirely nut of character for him."1            boncluded that the FBI had
    already disciplined. him and pcnaliztd him. appropriately for his mis¢onduct and that an isolate.d
    mistake did not require the loss of his security clearance .
            .At the hearing, the FBI admitted that its Office of Professional Responsibility had
    permitted a settlement impOSing a 60-day susp.ension, but it also argued that the standal'ds
    governing disciplinary penalties and the security clearance process wc.te different io. certain
    material respects. On the merits, the FBI maintained that it had legitimate concerns about
I               ~olldllct because it demonstratedl              . lwith suggestions that (at least initially)
I                                                                        1

 _----T_·h. e ARC agrees and affirms the FBP s reconsideration decision. While it acknowledges
 I           lexpressions of regret fi)r his conduct, the record establishes that hel               I b6b7C per FBI
                                                                                                             per FBI
II....-_-----_---Ilor             the FBI. Moreover, the incident resulted in criminal charges         bS per FBI
   against bim by local law enforcement authorities that were resolved through a plea agreement.       b7E per FBI
   Those circumstances. even if they involved only one incident, are enough to raise legitimate
   doubts abQu~            ~rustworthincss and ability to safeguard (.~lassified information, As noted
    above.' the .gover:ung.sta~dard. f~r th. ese appeals requ.ires the ~RC t~ resQ!:V¢ suoh doubts in favor
    of national sectlnty. and It therefore affinns the FBI's revocatIonott               ~learance.



    cc: Michael Nannes
        Bradley W£:insheimer
        Eric Daniels, Attorney Advisor




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                                                                                               Exhibit A
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                                                            u.s. nt~part:nll~ut.of Justiec




          SfP 19 20lB

MEMOFANDUM FOR GERALD ROBERTS, JR.
             Assistant Director, Security Division
             Federal Bureau offuvestigation
                                                 IlkH Iii
FROM:                    Monty Wilkinsoll"rl""1!"WL--_----"'~'"---
                         Chair, Access Review Committee
                                                                                                                    b6 per FBI
SUBJECT:                                                                                                            b7C per FBI




_---Tuh;lJlewA~- ccess Review Committee .ARC) met on July 13, 2017, to consider
10.-_-.-     -'1 appeal ofthe                     . ecision of the Federal Bureau of ll:lvestigation (FBI)
to revoke hls security clearance.             e reasons set forth below, the ARC afli!'D1s the PH r s
decision.r
                                                  Background

                                                    Alex J. Turner. Assistant Director, Security Division,
                         '---    .•..
                                  ~-ec-u..,..r..,.lt...,·-c....,e,...._aranc.e.
                                                                 The revocation was based lar el . on tbe alleged
                                                                                                                    b6 per FBI
                                                                                                                    b7C per FBI
                                                                  The decision also cit .                           bS per FBI

 allege '--                                  --.r------.------,.------,.-__,-.he                   FBI aflirmcd b7E per     FBI
 the revocalion after reconsideration.     and                 requested a hearing before the ARC.

                                Guidelines for Revoking Security c;learan~

          In it~                  llecision, the FBI identifie4 the :following Adjudicative Ouideline..~
 set forth by the Security' Policy Board as applicable to this appeal:

 Guideline e, Personal CmJduct. Conduct involving questionable judgment, lack of candor.
 dishonesty~ or unwillingness to comply w_ith rules and. regulations can: raise questions about ;m
 individual'!s reliability, trustworthiness and ability to protect claSSified inionnation. Ofsp.edal
 interest is any failure to provide truthful and candid answers during the security clearance
 process or any other failure to c.oopemte with the security cleatance process. The follo",ing vv'm
 normally result in an unfavorable Clearance action or administrative termination. of f·urther

                   inl
 1- After the.~hearing              ~e composition ofthe ARC changed, with only one current ARC member and the
 ARCs counsel having attended. thathcaring~ Atthls time, however, all ofthe ARC's membe-rs have thQroughly
 reviewed the .entire record of this matter, including the he.aring transcript. and render the decision below.




                                                                                                      Exhibit A
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~1e~orandum for ~erald Roberts. Jr.
S!lbject: Appeal 0                  I                                                                    b6 per FBI
                                                                                                         b7C per FBI

processing for clearance eligibility: (a) refusal, Of failure without reasonable cause, to u,ndergo or
cooperate with security processing, including but not limited to meeting with a security
investigator fOf su~jC(~tintet\<iew, completing security forms ot releases. and cooperation with
medical o.r psychological evaluati.on; (b) .reiusal to provide tull. frank and truthful answers to.
lawful questions of investigators, ~curity officials, or other oHicial representatives in connection
"'ith a personnel security or trustworthiness dekrmination.

Additional ~oncerns could include delib¢rd.te omission, concealment~ of falsification of relevant
facts from any personnel security questionnaire, personal history statement, or similar form used
to conduct invesiigations~ determine employment qualifications. award benefits or status:.
determine security clearance eligibility or trustworthiness, or award fiduciary responsibilities.
Concerns could also exist Lmder tbis guideline about deliberately providing false or misleading
infottnation, cortceming relevant facts to an employer:. investigator, security official. competent
medical authority, or other onida! govemmei1heprese,ntativc.

Guideline U [(.r;e ~flI' S}wtems. Noncompliance with rules, procedures, guidelines or
regulations pertaining to inJbnnation technology systems may raise security c.Qrtcerns about an
Individual's reliability and trustworthiness; calling into question the \villingness or ability to
properly protect sensitive systems ..networks •.and information. Conditions that could raise a
s.ccurity COlleem and may be disquaUfying include illegal or unauthorized entry into any
information tccbnoJogy system or component thereof; they might ~lso include illegal or
u.nauthorizcd modification, destruction~ manipulation or denial of access to inforrtlation~
so:ft\Vate, firnlware~ or hardware in aninfotmation technolQgy system. Add.itionally,
disqualifying conoorns might include unauthorized use of a government or other information
technology system: as well ~ introduction, removal, or duplkation of hardware, finnware~
software, or media to or from any infonnation technology syStem ·without authorization, when
prohibited by :rule.s~ptoc(~dures,.guidelines or regulations .

                          .FBrs Reasonsfor.Revoking Security Clearance

                                                                                                      b6 per FBI
                                                                                                      b7C per FBI
                                                                                                      bS per FBI
                                                                                                      b7E per FBI




                                                       misco.nduct had b~n deliberate when he

                                                     It determined that the record showed a lack of
~~~----------------------------~
reliability and trustworthiness on his part and that it could not entrust him with classified
information,




                                                   2



                                                                                         Exhibit A
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    .Me.morandum for Cjrerald.Roberts. J~.
                                                                                                                        b6 per FBI
     Subject: Appeal o~...._--------' I
                                                                                                                        b7C per FBI

                                                      Stat)~d GovernL'1& the ARCs Examination
              The ARC is charged under the Adjudicative Guidelines with examining a sufficient
     period of a person'slife to make an affirtnative determination whether the person is eligible for a
     security clearance. In this process, the ARC must carefully weigh a number of variables knov~l1
     as the I'whole person concept." In evaluating the relevance. ofan individual's conduct. tbe
     following factors should be considered: (.1)the nature, ext~t, and seriousness of the conduct~
    .(2) the .circvmstanccs    surrounding the conduct, to include knowledgeable participation; (3) the
     frequency and recency of the·conduct; (4) the \ndividual's age and maturity at the time of the
     conduct; (5) the extent to which participation is ~oluntary; (6) the ptesence or absence of
     rehabilitation and. other pertinent behavioral changes; (7) the motivation for the conduct; (8) the
     potential for pressure, coerc·ion, exploitation, or duress; and (9) the likelihood of c,ontinuatlon or
     tecurre.nce~ The governing exe(~utiveorder further clarifies ·that ';eligibility for access to
     classified infonnatioll shall be granted only to employees. .. whose ~rsonal and professional
     history afllrmatively indicates loyalty to the united. States,. strength of character. trustworthiness,
     honesty'! reliability., discretion, and sound judgment, as well as freedom from conflicting
     allegiances and potential for coercion, and willingness and ability to abide by regulati-ons
     goveming the use, handHng, and protection. of classifi.ed information/' Executive Order No.
     12968, § 3J{b) (1995).

    The Adjudicative Guidelines provide that every case must bejudged on its own merits, but that
    '''any doubt concerning personnel b~ing considered for access to classified information will be
    resolved in favor of national security." Further, ''the. ultimate detennination of whether the
    granting o.t continuing of eligibility for a.security clearance is clearly cnnsistent with the interests
    of national see.urity must be an overall common senSejudgment based \ipoIi careful consideration
    of the [individual gUidelines] .•• in the context .ofthe whole person." The individual seeking the
    security clearance bears the burden of proving that such clearance is tully consistent with the
    interests .of national se<"'1lrity.

                                        RecoilSideration ReQuest and Appeal to tbe ARC

    __    ~I;:.::n....:.h~is~=~~~~~~~                                .....,jdenied"_ __   -----------L___'              b6 per FBI
                                                                                                                        b7C per FBI
                                                                 He stated, that he had                                 bS per FBI
                                                                                                                        b7E per FBI
#--               L.,;S~in=ce;:;.·
                             ,;:;,;co~n.:.::ce""rns   about._,_-----------------L.----.
                                            asserted, he

  alleged that FBI perso,tmel. had intimidated and coerced him into makin a fals.e:confession of
  bayingl                         !when he actnall;' had no }moWl:dge 0 .
I                                                           lalso dISputed that any of tb
I                                                   He argued that he had no specific moL.tl.-v-at-io-n-t-o....l.

I           land he dented unji                                                                 IOn those groundS~he.
     SQughtthe restoration of his clearance.




                                                                                                        Exhibit A
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 Memorandum for Gerald Roberts, Jr.
 Subject: Appeal o~                     I                                                                          b6 per FBI
                                                                                                                   b7Cper FBI
                                                                                                                   bS per FBI
                                 Hearing .Proceedings and Discossion                                               b7Eper FBI

         At the hearingJ              lagap;;;;in;;;...;.;..de=n;;;;_.ie;;..;d;..;;ha=
                                                                   ..""",v=in=
                                                                           . .__                                ....•
.....-----.1 H~ reporte.d that he had




                                                                                                                  b6 per FBI



_--------               ..•..•
                           .--__.-
                                       r------                         --ioiioiioiio---------------.bS
                                              ~~.,.....----------------_....7E
                                                                                                                  b7Cper FBI
                                                                                                                     per FBI
                                                                                                                        per   FBI


.__              __,. • ut argu· .t at                                            slated that he
  was a skUled profe~~:iona1who could still contribute to the FBI, and thataUowing him. to retain a
  security clearance was consistent with nationalsecutity.

           The FBI argued at the hearing tha~                  admitted I     I                and          I
  his shifting accounts of whether or not he hadl             kaised disqualifying concerns about his
  trustworihiness and reliability. It also maintained that hisl.                                     I
I                  Iwas misconduct that raised additional concerns about his reliability.
          The ARC agrees and affinns the FBI's reconsideration decision.                  I              Ihas
  explained why he made a false confession o~                             Ito avotd perceIVed pressures
  from the FBI. That confession, howe·ver, is still part of the record along with hi~ other denials of
  having!                       Ia11d. his inconsistent accounts do raise-legitimate concerns about
  whether he has been ~ntjrely truthful about this issue. In addition., he has admitte~
I                                          leven though he knew that he wasn't suppos-ed    ·-to-d-o-.-so-,____,b6 per FBI
                                                                                          ..•.
  Ailthe governing standard QutHned above indicates, the ARC is required to resolve .any doubt                 b7Cper FBI
  about an em 10 'e<!considered for access to classified information in favor of national security. bS per FBI
  Based 0                 difterin accounts reglll.'dingl                    bud his admitted                  b7Eper FBI
                                             the FBI had valid grounds fot dOlJbting his judgment and
~--------------------~--~
  truthfulness. The ARCtherefore affirms the FBI's reconsideration decision on that basis.




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                                                                                                     Exhibit A
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                                                                                    u.s. Department of Justice




              JUN (}42019



.MEMOR.ANDUM FOR GERALD ROBER~rS, JR.
               Assistant. Dirootor~ Sl>"Curity Division
                                     Federal Bureau            oflnvestigatiQn

FROM:                                Monty Wilkinson               1V/;{fI.l---
                                     Chairman, Access Revi.ew Comxuirtee

SUBJECT:                             Access Review Committee                      A,.01a1 ()~•..                           _.
                                                                                                                                                                    b6 per FBI
                                                                                                                                                                    b7C per FBI

                                     F"edet"~Bureau of Investigation

___    T_h:,:;c::;
          ..•.
            Access Review Committee (ARC) met 011 April 4, 2019, to consider
L-.-__  _.~ppeal of the I                Idt~ision of the Federal Bun:~auof Investigation
 (FBI) to revoke her security clearance.!. _Forthe reasons discussed below~ the ARC affh:ms the
 PH I's dccisiot)~

                                                                      Background




                                                                                                                                                                    b6 per FBI
                                                                                                                                                                    b7C per FBI
                                                                                                                                                                    bS per FBI
                                                                                                                                                                    b7E per FBI

L,--r----_-                     --..J Based on these events. the FBI dcteormined t.hat the concerns raised
    b-                    conduct amounted to a significant and unacceptable risk to the national security,
    supporting the revocation               of ber ~-                                                              the 1"B1affirmed this
    decision on reconsideration, andL__jappealed the reconsid~ration decision to the ARC in
I                             I
    ---_. _------
  I ARC member Bradley Weinshcimcr did Ilot palticipate in the hearitll'r bllt did rcv;.;io;.e\.;.;.v_;:tl::.;H;..:;S:;.:Il:l,;.- ~;;;.:;:.;~;;:;;;.;;;.:=;;;;;__
    Separately, the FBI proposedl
    i                                             ~5-day suspe!l~i()n illl            Ifi:lI'L-- __                      -----------'
I                                  I the d~idinl£ officialsustained the allegations telating to th.-....._-_-----'
  but without explanation did {jot su~•.tain meT                           I The deciding offlciulmitigated lh: propo!)ed
  _penaIt-y{('Ill 25 to 10 days. The. Fsrs records do- not include any .in-tbnilutlon revealing the deciding offldal 'I;
  reasoning as it .relates to the!                       I



                                                                                                                                             Exhibit A
      Case 1:23-cv-03435-RDM Document 1 Filed 11/15/23 Page 38 of 44

                                                                                                           b6 per FBI
Subject: Access Review Committee Appeal O~"'                           ...,j
                                                                                                           b7C per FBI



                                 Guidelines for Revocation of Security Clearance

       A review identified that the following Adjudicative. Guidelines set forth by the Security
Policy Board are applicable to· this appeal:

Guideline £, Personal Conduct. Theconcemis tbat conduct involvit~g questionable judgment"
lack of candor, dishonesty, or unwillingness to comply with rules and regulations can raise
qu.estions about an individual's teliability, trustworthiness and ability to prot~-t classified
information. A relevantcons'ideration under this guideline is whether an,individual deliberately
provided false or misleading information concerning relevant a..'1dmaterial matters to M
investigator, secutity official, cornpetent me.dical authority>.or other representative in connection
 with a personnel security or trustworthiness d~)tcnninatkm.

Guiddine A1;.Misuse qllnJormation Technology S..ystems. 'Ib.e concem is that noncompliance
with rules, procedures~ guidelines; or regulations pertaining to information technology systems
may raise security conCyms about an individual's trustworthiness; 'Willingness, and ability to
properly protect classified systems, networks, and informatlon. Information Technology
Systems include all related equipment used for the communication, transmission, processing,
manipulation, storage~ or protection of information.
                                                                                                         b6 per FBI
                                 FBI's Rea~;o~s
                                             for R~v.oking Security cte~r~n~_~
                                                                                                         b7C per FBI
                                                                                                         bS per FBI
       I                             lin 10m   ·.leu; withl                                  Ithe FBI    b7E per FBI
I                                                                                  I Subseuucntlv. on
                     Ithe FBII                                                                              I
the res.ul ts forl
                         I During the interviews fori                               rmentkmed that her
                                                                                                   I




                                                                                                           b6 per FBI
                                               ~~~==~~~~--~~--~-T----------------
                                  ~~~~~--------~~~~~~~~------------'_--~
                                                                                                           b7C per FBI
                                                                                                           b5 per FBI
                                                                                                           b7E per FBI




"--_ .....she explained her failure to disclose this matter previously by saying that she was
 "scared" and «afraid of getting into trouble."




                                                                                           Exhibit A
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                                                                                                                b6 per FBI
SUbject: Access Review Committee Appeal o~•..                             __.                                   b7C per FBI
                                                                                                                bS per FBI
                                                                                                                b7E per FBI

       'fhe FBI found thai._               ----.....,..---.....,..-----                        ....•
                                                                                                  in her FBI
and.OIG jnterviews raised -serious concerns. Des i(:                            awareness from annual


                                        The FBI also found that                       ivithholding of
iufonllation about h~        >..   .                   '.          ret ~cted p~r jtld~m:l1t,
                            rhe FBI acknowledged that management In the FBI LoUlsVllle held
                                                                                                            0
OtIice had reported no further!                                                          I
                                                                              and that those
            ad"confidence she ha<;learned her lesson." The FBI concluded, however, that

O
tnl . ga
            misconduct raised core issues about her judgment and honesty that could not he
          and that warranted the revocation of lwr security clearance,

                                   Standard OO\iernjp'g_lh.ttAR(,~~ Exami»a.tioQ
         The ARC is charged under the Adjudicative Guidelines with examining a sufficient
period of a person's tife to make an affirmativll determination whether the person is eligible fur a
security dear-d.nce. [u this process, t:he ARC must carefully weigh a llumr_,erQfvariables known
as the '\vh()]c person concept" In evaluating the relevance of an individual's cnnduct, the
following.factors shOllld be c(:m~idcred: (1) the nature, extent. a.nd seriousness of the cnnduct;
(2) the circumstances surroWldillg the c,onduct, to include knowledgeable participation; (3) the
.frequenCY and recency of the conduct; (4) the individual's a.ge and maturity at the time of the
conduct; (5) the ex1eiltlo w~hichparticipation is voluntary; (6) the prt."Scnceor absence of       .
rebabilitatioll and other pertinent l)chavioral chang(~s; (1) the motivation tor the conduct; (8) the
.potential for pressure, coercion. exploitation, or duress; and (9) the likelihood 01'continuation or
 recurrence. The governing ex(;'Cutive order further clarifies that «eligibility for access tn
 classified information shall be granted only to employees, , , whose personal and profesl'lollal
history affirmatively indicates 1<)yalty to the United. States, strength of character. trustworthiness,
honesty, reliability, discretion, and sound judgment, as welJ as freedom from conflicting
allegiances .and potential for coerci(m~ and \viHingness and a'bilit)' to abide by reglliati,ons
governing the use, handling, and protection of classified infonnation.'~ Executive Order No.
12968, § 3.1(b) (199.5).

          The Adjudication Guidelines provide that every case must be judged on its ovm merit.;;,
 hut that "any doubt cOilcerning personilcl being considered for access to classified information
 will be resolved in favor ofuatl('mal security." Further. "the ultimate determination of whether
 the granting or continuing ofeligibiUty for a security clearance is clearly consistent ,,,,ith the
 interests Qfnational s.ee-uritymust be an overall cotntmm sense judgment based upon careful
 consideru.tion of the lindi vidual guidelines 1 ... in the context of the Whole person." The
 individual seeking the security clearance bears the burden of proving that 'Such clearance is flilly
 consistent with the interests of national security.                       .                        .

                          Reconsideration. RequestAQd Appel!! to' the ARC
                                                                                                                b6 per FBI
                                                                                                                b7C per FBI
                                                                                                                bS per FBI
                                                                                argued that there was no.       b7E per FBI
.__--------------------------------------------~
                                                          3



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                                                                                                                             b6 per FBI
 Subject: Access Review Cortnnittc.¢ Appeal oft""                             _''
                                                                                                                             b7C per FBI
                                                                                                                             bS per FBI
                                                                                                                             b7E per FBI
 indication that                                         could pose any signi'ficant Qr unac(~.eptablc
 risk to national security.            . so maintained that her mitigated W~d<lysuspension
 supported the belief that her misconduct, while improper. did not pose such a risk, and She stated
 that her ptmishmeut adequately addressed anv conce.rns that the FBI might .have ahout her
 co.ntinued empl.oyme~t ~n ad. i~~on,~
                                     ct.·,         Iasserted that she retained the confideu.oo.'ot.··.her
 coHeagues and supenori:; In the l~Brs.                                        lex pressed remorse for
 her tniscondud through a personal statement to the ARC and she provided letters attesting to her
 c.haracter froml                  , and Flll colleagues. I                                ~ppea[ to the
 ARC incorporated ber reconsid(.~rationrequest and sought a personal appearance before the ARC.

                                       Hearing Pro.ccedings. and Disc·ussigl!

                                                                                                                             b6 per FBI
            At the heating.!     Inoted that the FBI had mitigated its disctp.linary actio.n against                         b7C per FBI
 her to.a lO·da" suspensicn and that the DIG investigation did nct result in a ,rosec-ution against                          bS per FBI
 her.               also maintained the rCllord did not sh(}\~'that                                                          b7E per FBI
L-                                                        ,....---_,...  __    ......IQr t.hat it had exposed the
    FBI to. any meanin,gful. sec_uritv risk. rn addition,               note.d that she had an excellent
    emplo.yment ~ecord :-iththel •.          . .pffice and that m.·anage~men1official, and colleagues had
I     !reid thelr continued <Ollll<!\lllCe III her.     I           I
                                                                   also jlOlnted out that -                    I
              after the events at issue had. sho\~n nu further improper activity. While admitting that
   her misconduct was a mistake and expressipg r~gret for itJ                                     largued that nothing like it
   would ever ha· n a lain and she- dcnit..>d that she W:iS a bad ern lovee Qr security risk. The FBI
   at ilUeO that
,_                               ___J~t.lrdiIjil:.l....loaw.l~:::J..U:....;w.t,;draised questions ahout herL..-_-.---- ....••
                                                                              Similarly, tl:te FBI rnaintahted that
 L-                                                                                           __'             ajsed '--------'
                                                                                                                    important
    questions about he.r trustwotthin.efts and judgm.ent.

            T~c ARC agrees and atlirms the FBI's rC(lonsidcratlon decision. At the he.:1fing,
 '-- __        je:xpressed her concern that these proceedings carry with them the necessary'
             .•.•                                                                                         b6 per FBI
    implication that she was a bad FBl employee or a m9raBy questionable person. While the ARC :~c
    has m:a~e no .such j~ld~ent. we ,d{)note tbaithe record Sl.lgg~sts thad                         I
                                                                                     . had an othcmisc b 7EPper FBI
                                                                                                                                 ~:r:rI
    unbktmshed record WIth the FBI and th:.1tshe was. well re.garded by her colleagues.                  Asl             I
    berselfhas admitted, however, she did make serious rriistakes through her misconduct as
    described above and tbose mistakes carn' with them 1m rtant consequences. Based on
                                                                      the FBI described legitimate douhts
~----------------------------------------__.
    about her reliabiUty and trustw()rthiness. As noted above, the ARC's governing standard
    requires it t(} resolve su.ch doubts in f}wor ofnatiomil security~ and it therefore affinns the FBI's
    reconsideration decision on that basis .


    .cc: Brad Weinshcimer
         Michael Nannes
          Eric Daniels, Attorney Advisor




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    _._            ----_ ••...•........   __ ..--.--..•...-                   ----
                                                          •................•.••      .............•   ~..".----         ---..-.-----   ..•......   ~.........•..,,---.---   .




                      MAY 08 2019

    MEMORANDUM FOR GERALD ROBERTS1 JR.
                 Assistant Director, Secllrity Division
                                Federal Bureau of~v~~t~~ation
                                                ..        . Jff;;tili..{,,,,,,,..~,,,········
    FROM:                       Monty W~lktnson.~.1. ~
                                Chairman, Access Review Committee

    SUBJECT:                                                                                                                                                      b6 per FBI
                                                                                                                                                                  b7C per FBI
                                                                                                                                                                  b5 per FBI
                                                                                                                                                                  b7E per FBI

.-- __                                  Revic'w' COI1lmittee (ARC) met on March 21~ 2019, to consider
            ..;;......,.Thc.;...··_A""ccess
I                  lappeal of thel                                     I decision of the Federal Bureau of Inv(:stigatiol1
    (FBI) to r"voke his security.clearance.                   For the reasons discussed below, the ARC affirms the
    FBI's decision.

                                                                    Backgroun4.




                                                                                                                                                                  b6 per FBI
                                                                                                                                                                  b7C per FBI
                                                                                            Based on these. events. the FBI
                  .. -:at~~e-c-on:-c-e:-rn-s
 L.-et~e-m-l-m-e""T"":t"'             -ra"":"is-e-:d;"";b;-y""iI;:::=====:;lco-n:-d:-u-G~t amounted to a. significant and                                         b5 per FBI

_:Pta:~le
1_ ~   _.
          risk            to the national          supp'o~ng the revo7atio~ Of.hi.s clearance} On
                                                 secutti):.
                            !the FBI affinned t.hIS deCISIon on reconslderatlOq.   andl          1
                                                                                                                                                                  b7E per FBI



    appe ..ed     e reconsideration decision to the ARC i~•..                    1
                                  Guidelines          for Revocation of Security Clearance

        A review identitied that the following Adjudicative GJJidelines set. forth by the Security
 Policy Board are applicable to this appeal:

Guideline        e.
             Personal Conduct. TIle concern is that conduct involving questionable judgtl1ent~
lack of candor, dishonesty, or unwillingness to comply with rules and regulations can raise
questions about an indiVidual's reliability. trustworthiness and ability to protect classified
                                                                                                                                                                  b6 per FBI
 I Separately.   the :FBI suspende4•.••                  ~or three days in •...
                                                                           1 __                       ___.~ased 011 this underlying misconduct.
                                                                                                                                                                  b7C per FBI




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 information. Conditions that could raise a security concern flD,d may be disqualifying include:
 credible adverse iuformation that is not explicitly covered under any other guideline and may not
 be sufficient by itself for an adverse determination~ but which, when combined vvith all available
 illfo.rmal.ion, supports a whole-person assessment of questionable judgmc.nt, untrustworthiness,
 unreliability. lack of candor, un\\ll1ingness to comply with rules and regulation..<;; or other
 characteristics indicating that the .individual may not properly safeguard protected information.
 this includes butis not limited to consideration of inappropriate behavior in the workplace or
 evidence of significant misuse ofgoverIlIIl,cni   or other employer'.s time or resources.
 Guideline M,..Misuse of I~form4fion Technology Systems. The con~ern is that noncompliance
 with rules, procedures; guidelines, or reglllations pertaining to intbnnatl()n te<:bnology systems'
 may raise security conc.ems about an .mdivid~ar s trustworthiness, willingness, and abilityto
 properly protect classified systems, ne~·orks. and lnfonnation. Information Technology
 Systems include all related equipment used for     me  conununicatiQn, transmission, processing,
 manipulation~ st.orage, or. protection of information.

                          FBI's Reasons for Revoking Security Clearance
                                                                                                       b6 per FBI
                          the FBI detected
                                                                                                       b7C per FBI
                                                                                                       bS per FBI
                                                                                                       b7E per FBI




        The FBI al$O alleged tha.                                                                      b6 per FBI
                                                                                                       b7C per FBI
                                                                                                       bS per FBI
                                                                                                       b7E per FBI

                                                                          and that he would have
~-l=<:":'I""l~-----------rl!('f::'1:hi:::'      s~a::c:::ti::V:r.l·t:::y"'i:h::a:i'd-:n:::ot
                                                                             been discovered, Based
on these events, the FBI concluded that aUowin~               laccess to clas$ifi~ information
 would present an unacceptable    risk to ilational security.

                                 Standard Ooycming the ARC's Examination
         The ARC is Charged under the Adjudicative Guidelines with examining a sufiic.ient
period ofa person's life to make an affirmative determination whe.ther the person is eligible for a
security clearance. In this process, the ARC must carefully weigh a number of variables known
as the ;'wh..ole pe:rson concept." In evaluating the relevance of an individual's conduct, the
following factors should be considered: (1) the I:l.ature~extent~and seriousness of the conduct;
(2) the circwnstances surrounding the conduct; to .include knowledgeable participation; (3) the
frequency and recency of the conduct; (4) the individual's age and maturity at the time of the
conduct; (5) the extent to which participation is voluntary; (6) the presence or absence of

                                                     2



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    rehabilitation and other pertinent behavioral chan.ges; (7) the motivation for the conduct; (8) the
    potential for pressure, coercion, exploitation, or duress;. and (9) the likelihood of continuation or
    rect.lJtence. The governing executive order further clarifies that "eligihility f()f access to
    classified infonnation shall be granted only to emp10yees .. , whose personal and professional
    history afilrmativelyindicates loyalty to the United States, strength of character, trustworthiness~
    honesty, reliability, discretion, and sound judgment, as well as freedom from conflicting
    allegiances andpotential for coercion, and willingness and ability to abide by regulations
    governing the use, handHng~ and protection ofcIassified information. Executive Order
                                                                                    l
                                                                                     '

    No. 12968, § 3J(b)(1995).

              The Adjudicative Gwdelines provide that every case must be judged on its own merits,
    but that '<any dOi..lbt concerning personnel being considered for access to classified information
    will he resolved in ta,vor of national security." Further, ~'theultimate determination of whether
    the granting or continuing of eligibility for a security c1eanmce is cleady consistent With the
    interest') of national security must be an overall common sense judgment hased upon careful
    considerati(m of the [individual guidelines] , .. ill the context of the whole person~;~ The
    individual se.eking the security clearance bears the burden of proving that such .clearance is fully
    consistent with the iIlterests of national· security.

                                Reconsideration Re'luest and Appeal to the ARC




                  IS Qvvnexpre.sslons 0 regret an contrition for his misconduct anq the tact that it
    had only occurred during off-duty   hours. In addition                        .                 .
    relevance of the prior alleged incident of
    Regarding the admonishment relied on bL-,t -e....•
                                                   ·•••.•...
                                                        ...,....----"I"":':~-;-':":""'""':"":"7"-:--"""7~;-'
    in.ddent in which he
I              Iafter he wLa-s -a--c..•.""'t-o-n-o~t                                              d:-n-o""'---"'----
                                                 ------~h-e-c-otn~.-p";":li~ed";"· .-ru-ld7·"";'dl:"":·


          L-              Iargued t~t the FBI had recognized hisJong and commc:udable performance
    record .and his apparent potential for rehl:l,bilitationby imposing a relatively minor tbrce~day
    suspension for his mis?onduct Based onhis developin~nt ~f appropria.te coping mechani~m~
    through mature reflectIon andl                           ~nalntamed that he would not engage III
    similar misconduct in the future aIld that he would not be vulnerabJe to pressure, coercion, or




                                                           3



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     e.xploitation. F.or th.es~ re~~Ol~s,l. ..         Istated that a Wh. ·0.Ie-person. evah.lation of the reOr? ~~c
     supported tbe res.toratlon. of Ins secunly ~]~r(ln~c_ In a sU Plement to hl~                           ARC
                                                                                                                       P;:r   FB~I


              appc:al that he has recently subrn1tted~ 1
     had made in his reconsideration request
                                                                     1 largdy restated the argwnents that he


                                           Hearing Proc_c;edings. and DisQy'ssion
                                                                         .




              At the hearingJ               I argued again that the imposition of a three-day suspension
     he received as part ofa separate dIscipline matter was enough for him to have realized the
     s.ignificaIlce of his miscotiduct and to avoid re catin it in the future.
    ~~~~~~~~~~~~~~~~~~~~~~~~L-                                                              ~~~~ .     __ I b6 per FBI
                                                                                                                 b7C per FBI
                                                                                                                 bS per FBI
    1-----------,.------        --.,....-----'""":':"'--;--:----:-----:----::---::--:------::-::--::-----:------
                                                                                                b 7 E per FBI
    L...-        .....•oxpress.· great remorse for his miscondllct and stressed the importance to bim of
     continuing his FBI cateer. In seeking the restoration of his cleatance~                 ~rgucd that
     his misconduct was an. uncharacteristic deviaiiol1 from his overall pattern of exem.plary servIce
     and maintained. that the risk o:fe:ntrusting. classified infonnation to him was minimaL The FBI,
    however, ar~ued. t._hR:. t. th.e riSk. ~ras unace-t!p~ablegive~ the oxte.nde.d ~d. repcate ..d na.ture of
,                _ brusconduct untIl the FBI dlscovered It and .stopped hIm froml                   I
                   It maintained that  I                     ~isconduct raised sign.ificantquestions ahout his
    reliability and trustworthiness since he knew what he had done was wrong an~                         I

            The ARC agrees and affirms the FBI's reconsideration decision. The ARC is
                                                                                                                 b6 per FBI
    sympathetic to the stresses inl               lpersonallitk at the time of these events, and it
                                                                                                                 b7C per FBI
    acknowledges both his contributions to the FBI a.nd his e:~q)fessious of T(;,)mQrsefbr his                   bS per FBI
    misconduct. At the same time, however. the FBI ,had legitimate grounds for doubting                          b7E per FBI
                      stworthiness a;Ildjudgment becaus.c he admittedly knew the FBI ru'fs
    ~~=:;:;:::::~::::------------~     violated thcI11,andlL.                                 _
                                       As noted above, the ARC's governing standard requires it to
    ~------~~~~~--~~
    reso ve such doubts in favor of national security and the ARC therefore affirms the FBI's
                                                         l


    reconsideration decision.

            Cc: Brad WeiIlshehimer
                 Michael Naunes
                 Eric Daniels, Attorney Advisor




                                                         4



                                                                                                  Exhibit A
